AFFIDAVIT

I, Senior Special Agent Jason Ruyle, being of lawful age and first duly sworn
upon my oath, do hereby depose and state as follows:

INTRODUTION AND AGENT BACKGR()UND

l. l am a Senior Special Agent with the United States Secret Service
(USSS) and have operated in this capacity since 2001. Prior to this, I was employed
as a Police Officer for the City of Chesterfield, Missouri from 1997 to 2001. I
received formal training at the Federal Law Enforcement Training Center in Glynco,
Georgia, and the United States Secret Service Academy in Beltsville, Maryland. l
am currently assigned to the Springfield, Missouri Resident Agency and am a member
of the Springfield, l\/Iissouri Financial Crimes Tasl< Force. Based on my training and
experience, l am familiar with the means by which individuals use computers,
electronic devices and information networks to commit access device fraud. In
addition, l routinely investigate various forms of financial fraud, including schemes

to commit fraud and related activity in conjunction with counterfeit access devices.

2. I am an investigative or law enforcement officer of the United States
within the meaning of Section 2510(7) of Title 18 of the United States Code, that is,
an officer of the United States who is empowered by law to conduct investigations of
and to make arrests for offenses enumerated in Title 18, United States Code, Section

2516.
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3. This affidavit is being submitted for the limited purpose of establishing
probable cause that LOREDANA BACEANU, the defendant herein, committed
violations of the statutory provisions set forth in Title l8 U.S.C. 1029(a)(3).

4. Based upon my training and experience, l am aware that schemes to
obtain cash, goods and/or services using fraudulent access devices typically involve

the following activities:

(a) The suspect obtains another person’s legitimate bank access device and/or
information and then has access to the victim’s bank accounts via cloned
debit and/ or credit cards.

l. Once the suspect obtains access with a counterfeit access devices, the
suspect often obtains cash, goods and/or services

2. The suspect usually makes frequent account withdrawals and
purchases of high-end items until the card has exceeded its
predetermined fiscal limit

5. The information contained within this affidavit is based upon my personal

observations, training and on information related to me by other law

enforcement officers and investigators as set forth more fully herein.

FACTUAL BASIS-SUMMARY OF THE INVESTIGATION
6. This case originated on October 12, 2018 when the Springfield Financial
Crimes Task Force was contacted by Jill San Paolo, Assistant Vice President,

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Corporate Fraud Investigator, Central Bank of the Ozarks 1800 South Glenstone
Avenue, Springfield, Missouri, 05804. Central Bank of the Ozarks’ ATM monitoring
software had alerted them to the likely presence of an ATl\/I skimming device being
placed on their ATM located at 1915 South Glenstone Avenue, Springfield, MO

65 804.

7. A “skimming device” is a small electronic device used to steal credit card
information in an otherwise legitimate credit or debit card transaction A criminal
suspect places the skimming device on an ATM or credit card reading machine, at
public locations such as bank ATMs and gasoline station pumps. When a person
swipes a credit or debit card through a machine on which a skimmer is attached, the
device captures and stores all the details stored in the card's magnetic stripe. The
stripe contains the credit card number and expiration date and the credit card holder's
full name. Persons use the stolen data to make fraudulent charges either online or

with a counterfeit credit card, or gift card

8. Upon review of ATl\/I surveillance cameras, Central Bank investigators
determined an unidentified male and female driving a red and silver 2000 Hyundai
Accent, with Missouri Temporary License WMOB6T, attempted to instail a skimming
device but failed. San Paolo provided photos of the suspects and vehicle to the

Springfield Financial Crimes Task Force.

9. On October 15, 2018, officers of the Springfield Police Department
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located the suspect vehicle parked on the lot of the Big Whiskey’s Restaurant located
at 1550 East Battlefield, Springfield, MO 65804. Investigating officers determined
the vehicle had been purchased via a Facebook transaction from a Springfield,
Missouri, area resident on October 10, 2018, by a person using the Facebook profile
of Sokrates Vaga. In a canvass of the area, Springfield Police Detective and Task
Force Officer Justin Thorn made contact with the on duty manager of the Arbor Suites
at the Mall, 1550 East Raynell, Springfield, Missouri, 65804. This hotel is located
immediately adjacent to the parking lot where Vaga’s vehicle was discovered by
police. Detective Thorn showed hotel management photos he had obtained from
Central Bank investigators of the unidentified suspects Hotel management
recognized the suspects in the photos as being part of a large Romanian family who
had previously rented three rooms until their departure shortly before Detective
Thorn’s arrival. The rooms had been registered in the names of Romona Baceanu
(W/F, 10/16/89) from Hollywood, FL, Lisa Smith (W/F, 10/16/89) from lreland and

Francisco Chiciu (W/M, 12/20/97) from France.

10. On October 19, 2018, Jill San Paolo again contacted the Springfield
Financial Crimes Task Force. San Paolo reported her bank had received an alarm at
3:49 PM from their ATM located at 3720 West Sunshine, Springfield, Missouri,
65807, indicating something was wrong. After reviewing ATM records and
Surveillance videos, Central Bank investigators discovered unidentified suspects

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installed a skimming device on the ATM at approximately 12:30 PM on the same
date. Other unidentified suspects returned to remove the device at approximately 3:49
Pl\/I, apparently setting off an ATl\/l alarm as they removed it. Central Bank
Investigators provided surveillance photos of the suspects to the Springfield Police

Department.

ll. On the morning on October 23, 2018, 1 was contacted by Southern Bank
Vice President Jackie Bonner, 4803 South National, Suite 100, Springfield, Missouri,
65810. Bonner told me she had discovered unidentified individuals repeatedly
targeting four different Southern Bank ATM locations, withdrawing large amounts of
money from multiple accounts with a large volume of transactions Bonner believed
these suspects were using stacks of re-encoded credit cards to facilitate the theft of
funds from multiple compromised credit and debit card accounts Although Southern
Bank was still investigating, they believed this activity began occurring on the evening
of October 22, 2018 and continued into the morning of October 23, 2018. Bonner had
identified multiple suspect photos at four different ATM locations in Springfleld,
Greene County, Missouri, Christian County, Missouri and Nixa, Missouri. She had
instructed the managers of all those locations to immediately file police reports on the
incidents Bonner thought the photos of the suspects conducting these transactions
looked similar to the photos of suspects installing skimming devices on the Central
Bank of the Ozarks ATl\/[ on October 19, 2018. One of the Bank surveillance photos

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showed a gold in color passenger vehicle with the numbers “1300” written on the
exterior of the top right windshield. Those photos had previously been circulated
among fraud investigators in Springfield area banks in an attempt to identify them.
While 1 was talking to Bonner on the phone, she received a call from the manager of
the Southern Bank Branch located at 305 West Mount Vernon Street, Nixa, Missouri,
65714. The manager told her one of the suspects who had been withdrawing money
had returned to that branch’s ATM while a Nixa, Missouri police officer was taking a

report.

12. Continuing on the same date, Nixa, Missouri, Police Officer McVeigh
was taking a police report at the Nixa branch of Southern Bank when bank employees
told him one of the suspect vehicles had returned to their parking lot. Officer McVeigh
returned to his patrol vehicle and upon seeing a gold in color passenger vehicle with
“1300” written on the windshield, initiated a traffic stop on the parking lot of the bank.
Officer McVeigh contacted the two occupants of the vehicle. The driver identified
himself with a card purporting to be an International Driver’s License in the name of
Adolfl\/lariano. This card displayed the picture of the driver. The identification stated
Mariano was from Romania and was born on March l, 2000. The front passenger of
the vehicle was later identified as the defendant, LOREDANA BACEANU. Based
upon the bank reporting the vehicle and driver matched descriptions of suspects
involved in ATl\/I skimming fraud, Officer McVeigh detained both occupants of the

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vehicle until investigators could arrive to assist him. When Nixa Police Officer Deaver
patted down LOREDANA BACEANU, she felt a hard lump within the dress she was
wearing Further investigation revealed BACEANU had 49 gift card/ credit cards in a
concealed pocket within an undergarment she was wearing. Additionally, Officer
Deaver discovered $880.00 concealed in her bra. During this time, a micro SD media
storage card and a Florida Identification card fell from somewhere within
BACEANU’S shirt to the ground. The identification card was for a juvenile named
Lorenzo Radulean (W/M, 03/04/04) which bore the same photo as the driver of the

vehicle previously identifying himself as Adolf l\/lariano.

13. Continuing on October 23, 2018, I met with Nixa Police Detective
Richard Eutsler at the Southern Bank located at 305 West l\/lount Vernon Street, Nixa,
Missouri, 65714. After viewing Southern Bank ATl\/l surveillance photos of
fraudulent transactions Radulean’s image was easily identifiable on multiple
occasions in both the driver’s seat (withdrawing the funds) and in the passenger seat.
Nixa Police Officers placed both occupants under arrest and transported them to the

Nixa Police Departrnent for further investigation

14. Continuing on the same date, Detective Eutsler and 1 examined the
debit/credit cards BACEANU had concealed upon herself They were all either
Vanilla-brand VISA gift cards or American Express Gift Cards. Using a card reader,

we identified the magnetic stripes on all forty-nine cards had been re-encoded with
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different account numbers There was only one duplication of a re-encoded account
number, making it a total of forty-eight separate account numbers on cloned/re
encoded cards Detective Eutsler advised BACEANU of her Miranda Rights.
BACEANU said she understood her rights and would talk to him. ln the interview
that followed BACEANU said she was the mother of Lorenzo Radulean. She claimed
to be a Romanian citizen who had entered the United States through the southern
border. When Detective Eutsler showed her a picture of Romona Baceanu (provided

by Springfield Detective Thorn) LOREDANA BACEANU immediately identified the

picture as her sister.

l5. On October 24, 2018, Nixa Police Detective Eutsler contacted me by
email to inform me he had obtained state search warrants for LOREDANA
BACEANU’S cellular telephone and the Micro SD storage card that were concealed
on the person of BACEANU. While he was still waiting to have her phone examined,
he forwarded me copies of the six files contained on the Micro SD card. A preliminary
viewing of these files showed they were a series of long strings of letters and numeric
digits with some bank names and multiple series of numbers arranged/ formatted as if
they are credit/debit account numbers Based on my experience, this data looks very
Similar to raw data that 1 have reviewed in previous investigation that had been

recovered from skimming devices

16. On October 25, 2018, 1 contacted Homeland Security Investigations
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(HIS) Special Agent Gregory Bowie. SA Bowie told me his records check into
LOREDANA BACEANU revealed she was in the United States illegally. He said
she had come into contact with U.S. Immigration Officials in 2016, and had been
released pending the scheduling of a removal hearing While she is awaiting the
scheduling of that hearing, BACEANU has been reporting to immigration officials in
Miami via telephone once per month. SA Bowie advised me due to administrative
rules, his agency would be unable to take custody of BACEANU for immigration

offenses until her yet to be scheduled court date occurs

17. Based on my training and experience coupled with my knowledge of the
investigation, as stated in this affidavit, 1 believe that LOREDANA BACEANU
knowingly, and with intent to defraud, possessed at least 15 unauthorized access
devices, that is, approximately 49 re-encoded magnetic strip gift cards, and the
offense affected interstate commerce, in violation of 18 U.S.C. § 1029(a)(3).

Respect - lly submitted,

J\M£)S\Kii)lle, S:);igbr Special Agent
United States ret Service
Sworn and subscribed before me this 26th ay of October, 2018.

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Honorable David P. Rush
United States Magistrate Judge
Western District of Missouri

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